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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
W.R. GRACE & CO., et. al. : Case No. 01-1139 (JKF)
(Jointly Administered)
Debtors : Objection Deadline: December 6, 2010 @ 4:00 p.m.

NINETY-SIXH MONTHLY FEE APPLICATION OF
PRICEWATERHOUSECOOPERS LLP, AUDITORS AND TAX
CONSULTANTS FOR DEBTORS, FOR ALLOWANCE OF COMPENSATION AND
REIMBURSEMENT OF EXPENSES FOR THE MONTH OF SEPTEMBER 2010

Name of Applicant: PricewaterhouseCoopers LLP

Authorized to Provide
Professional Services to: The Debtors and Debtors in Possession

Date of Retention: . June 18, 2002 nunc pro tunc to January 10, 2002

Period for which compensation
and reimbursement is sought: September 1, 2010 — September 30, 2010

Amount of fees and expenses sought
as actual, reasonable and necessary: $217,150.89

This is a(n): X__ interim ___ final application.
The total time expended for the preparation of this application is approximately 7.3 hours
by all professionals for a total of $1,558.67. .

Prior Applications: First, Second and Third Quarterly Fee Applications of
: PricewaterhouseCoopers, LLP, Auditors and Tax Consultants for
Debtors, for Allowance of Compensation and Reimbursement of
Expenses; filed November 15, 2002

First Monthly Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of October, 2002; filed
December 30, 2002

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Second Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of
November, 2002; filed December 30, 2002

Third Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of
December, 2002; filed April 12, 2003

Fourth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants for Debtors, for Allowance of
Compensation and Reimbursement of Expenses; filed April 14, 2003

Fourth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of January,
2003; filed April 3, 2003

Fifth Monthly Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of April, 2003; filed April 17,
2003

Fifth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants for Debtors, for Allowance of
Compensation and Reimbursement of Expenses; filed May 13, 2003

Sixth Monthly Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of March, 2003; filed May 13,
2003

Seventh Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of April,
2003; filed July 9, 2003

Eighth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of May,
2003; filed July 9, 2003

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Ninth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of June,
2003; filed August 14, 2003

Ninth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants for Debtors, for Allowance of
Compensation and Reimbursement of Expenses; filed August 14, 2003

Tenth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of July,
2003; filed September 9, 2003

Eleventh Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of August,
2003, filed October 22, 2003

Twelfth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of
September, 2003; filed November 11, 2003

Tenth Quarterly Fee Application of PricewaterhouseCoopers LLP,
Auditors and Tax Consultants For Debtors, For Allowance of
Compensation and Reimbursement of Expenses for the period July I, 2003
through September 30, 2003, filed November 11, 2003

Thirteenth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of October,
2003; filed December 12, 2003

Fourteenth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of
November, 2003; filed January 14, 2004

Fifteenth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of

Compensation and Reimbursement of Expenses for the Month of
December, 2003, filed January 14, 2004

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Eleventh Quarterly Fee Applications of PricewaterhouseCoopers LLP,
Auditors And Tax Consultants For Debtors, For Allowance Of
Compensation And Reimbursement Of Expenses for the period October 1,
2003 through December 3 1, 2003, filed April 12, 2004

Sixteenth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of January,
2004; filed March 10, 2004

Seventeenth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of April,
2004; filed April 14, 2004

Eighteenth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of March,
2004; filed May 13, 2004

Twelfth Quarterly Fee Applications of PricewaterhouseCoopers LLP,
Auditors And Tax Consultants For Debtors, For Allowance Of
Compensation And Reimbursement Of Expenses for the period January 1,
2004 through March 31, 2004, filed May 7, 2004

Nineteenth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of April,
2004; filed June 7, 2004

Twentieth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of May,
2004; filed June 30, 2004

Twenty-First Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of

Compensation and Reimbursement of Expenses for the Month of June,
2004; filed July 30, 2004

Thirteenth Quarterly Fee Applications of PricewaterhouseCoopers LLP,
Auditors And Tax Consultants For Debtors, For Allowance Of
Compensation And Reimbursement Of Expenses for the period April 1,
2004 through June 30, 2004, filed July 30, 2004

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Twenty-second Monthly Fee Application of PricewaterhouseCoopers,
LLP, Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of July,
2004; filed September 14, 2004

Twenty-third Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of August,
2004; filed October 15, 2004

Twenty-fourth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of
September, 2004; filed November 5, 2004

Fourteenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,

Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period July 1, 2004

through August 30, 2004; filed November 15, 2004

Twenty-fifth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of October,

2004; filed December 20, 2004

Twenty-sixth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of
November, 2004; filed January 14, 2005

Twenty-seventh Monthly Fee Application of PricewaterhouseCoopers,
LLP, Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of
December 2004; filed April 17, 2005

Fifteenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period September
I, 2004 through December 31, 2004; filed April 17, 2005

Twenty-eighth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of January
2005, filed March 18, 2005

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Twenty-ninth Monthly Fee Application of PricewaterhouseCoopers, LLP,

Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of February
2005; filed April 21, 2005

Thirtieth Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of March
2005; filed May 17, 2005

Sixteenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period January 1,
2005 and March, 2005; filed July 7, 2005

Thirty-first Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For -Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of April
2005; filed June 17, 2005

Thirty-second Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of May
2005; filed August 2, 2005

Thirty-third Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of June
2005, filed August 12, 2005

Thirty-fourth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of July 2005; filed September
12, 2005

Seventeenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period April 1,
2005 and June 30, 2005; filed October 3, 2005

Thirty-fifth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and -

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Reimbursement of Expenses for the Month of August 2005; filed October
17, 2005

Thirty-sixth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of September 2005; filed
November 29, 2005

Thirty-seventh Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of October
2005, filed December 20, 2005

Thirty-eighth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of November 2005; filed
January 9, 2006.

Eighteenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period July 1, 2005
and September 30, 2005; filed January 19, 2006

Thirty-ninth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of December 2005; filed
February 13, 2006

Fortieth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of January 2006; filed March
21, 2006

Thirty-third Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of

Compensation and Reimbursement of Expenses for the Month of June
2005; filed August 12, 2005

Thirty-fourth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of July 2005; filed September
12, 2005

Seventeenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of

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Compensation and Reimbursement of Expenses for the period April 1,

2005 and June 30, 2005; filed October 3, 2005

Thirty-fifth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of August 2005; filed October

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February 13, 2006

Fortieth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of January 2006; filed March

21, 2006

Nineteenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period October 1,

2005 and December, 2005; filed May 4, 2006.

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Forty-first Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of February, 2006; filed May 5,
2006

Forty-second Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of March, 2006; filed May 19,
2006

Forty-third Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of April, 2006; filed July 21,
2006

Forty-forth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of May, 2006; filed August 16,
2006

Forty-first Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of February, 2006; filed May 5,
2006

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Reimbursement of Expenses for the Month of March, 2006; filed May 19,
2006

Forty-third Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of April, 2006; filed July 21,
2006

Forty-forth Fee Application of PricewaterhouseCoopers, LLP, Auditors
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Thirty-fourth Fee Application of PricewaterhouseCoopers, LLP, Auditors
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Seventeenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
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and Tax Consultants For Debtors, for Allowance of Compensation and
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17, 2005

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and Tax Consultants For Debtors, for Allowance of Compensation and
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2005; filed December 20, 2005

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‘Reimbursement of Expenses for the Month of November 2005; filed
January 9, 2006.

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and September 30, 2005; filed January 19, 2006

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and Tax Consultants For Debtors, for Allowance of Compensation and
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February 13, 2006

Fortieth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
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21, 2006

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Nineteenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period October 1,
2005 and December, 2005; filed May 4, 2006.

Forty-first Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of February, 2006; filed May 5,
2006

Forty-second Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of March, 2006; filed May 19,
2006

Forty-third Fee Application of PricewaterhouseCoopers, LLP, Auditors

_and Tax Consultants For Debtors, for Allowance of Compensation and

Reimbursement of Expenses for the Month of April, 2006; filed July 21,
2006

Forty-forth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of May, 2006; filed August 16,
2006

Thirty-third Monthly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of

Compensation and Reimbursement of Expenses for the Month of June
2005; filed August 12, 2005

Thirty-fourth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of July 2005; filed September
12, 2005

Seventeenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period April 1,
2005 and June 30, 2005, filed October 3, 2005

Thirty-fifih Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of August 2005; filed October
17, 2005

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Thirty-sixth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of September 2005; filed
November 29, 2005

Thirty-seventh Fee Application of PricewaterhouseCoopers, LLP,
Auditors. and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of October
2005, filed December 20, 2005

Thirty-eighth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of November 2005; filed
January 9, 2006.

Eighteenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period July 1, 2005
and September 30, 2005; filed January 19, 2006

Thirty-ninth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of December 2005; filed
February 13, 2006

Fortieth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of January 2006; filed March
21, 2006

Nineteenth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period October 1,
2005 and December, 2005; filed May 4, 2006.

Forty-first Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of February, 2006; filed May 5,
2006

Forty-second Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of March, 2006; filed May 19,
2006

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Forty-third Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of April, 2006; filed July 21,
2006

Forty-forth Fee Application of PricewaterhouseCoopers, LLP, Auditors

5 and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of May, 2006; filed August 16,
2006

Twentieth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period January 1,
2006 and March 31, 2006; filed August 29, 2000.

Forty-fifth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of June, 2006; filed September
20, 2006

Forty-sixth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of July, 2006; filed October 9,
2006

Forty-seventh Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of August, 2006; filed
November 8, 2006

Twenty-first Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period April 1,
2006 and June 30, 2006, filed November 13, 2006.

Forty-eighth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of September, 2006; filed
November 22, 2006

Forty-ninth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and

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Reimbursement of Expenses for the Month of October, 2006; filed
February 13, 2007

Fiftieth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of November, 2006; filed
February 21, 2007

Twenty-second Quarterly Fee Application of PricewaterhouseCoopers,
LLP, Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period June 1,
2006 and September 30, 2006; filed February 23, 2007.

Fifty-first Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of December, 2006; filed April
18, 2007

Fifty-second Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of January, 2007, filed April
24, 2007

Twenty-third Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period October 1,
2006 and December 31, 2006, filed May 21, 2007.

Fifty-third Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of February, 2007; filed June
11, 2007

Fifty-fourth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of March, 2007; filed June 15,
2007

Fifty-fifth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of April, 2007; filed July 30,
2007

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Fifty-sixth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of May, 2007; filed August 14,

2007

Fifty-seventh Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of June, 2007; filed August 14,

2007

Twenty-forth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period January 1,

2007 and March 31, 2007; filed August 16, 2007.

Fifty-eighth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of July, 2007; filed September

4, 2007

Fifty-ninth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of August, 2007; filed

November 2, 2007

Sixtieth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of September, 2007; filed

November 29, 2007

Sixty-first Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of October, 2007; filed January

&, 2007

Sixty-second Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of November, 2007; filed

January 23, 2008

Twenty-sixth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period July 1, 2007

and September 30, 2008, filed January 30, 2008

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Sixty-third Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of December, 2007; filed
February 11, 2008

Twenty-seventh Quarterly Fee Application of PricewaterhouseCoopers,
LLP, Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period October 1,
2007 and December 31, 2008, filed February 14, 2008

Sixty-fourth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of January, 2008; filed March
19, 2008

Sixty-fifth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of February, 2008; filed April
25, 2008

Sixty-sixth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of March, 2008; filed May 7,
2008

Twenty-eighth Quarterly Fee Application of PricewaterhouseCoopers,
LLP, Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period January 1,
2008 and March 31, 2008; filed May 12, 2008

Sixty-seventh Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of April, 2008; filed June 19,
2008

Fee Application of PricewaterhouseCoopers, LLP, Auditors and Tax
Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for DAREX Puerto Rico Audit; filed July 2,
2008

Sixty-eighth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of May, 2008; filed July 9,
2008

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Sixty-ninth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of June, 2008; filed August 4,

2008

Twenty-ninth Quarterly Fee Application of PricewaterhouseCoopers,
LLP, Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period April 1,

2008 and June 30, 2008; filed August 13, 2008

Seventieth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of July, 2008; filed September

12, 2008

Seventy-first Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of August, 2008; filed October

3, 2008

Seventy-second Fee Application of PricewaterhouseCoopers,

Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of

September, 2008; filed November 4, 2008

Thirtieth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period July 1, 2008

and September 30, 2008; filed November 14, 2008

Seventy-third Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of October, 2008; filed

December 16, 2008

Seventy-fourth Fee Application of PricewaterhouseCoopers,

Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of

November, 2008; filed January 15, 2009

Seventy-fifth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of December, 2008; filed

February 9, 2009

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Thirty-first Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period October 1,
2008 and December 31, 2008, filed February 17, 2009

Seventy-sixth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of January, 2009; filed March
26, 2009

Seventy-seventh Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of
February, 2009, filed April 15, 2009

Seventy-eighth Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of March,
2009; filed May 8, 2009

Thirty-second Quarterly Fee Application of PricewaterhouseCoopers,
LLP, Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period January 1,
2009 and March 31, 2009; filed May 12, 2009

Seventy-ninth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
‘Reimbursement of Expenses for the Month of April, 2009; filed June 11,
2009

Fee Application of PricewaterhouseCoopers, LLP, Auditors and Tax
Consultants for Debtors, for Allowance of Compensation and
Reimbursement of Expenses for Advisory Services Project 2009; filed on
June 15, 2009

Eightieth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of May, 2009; filed July 17,
2009

Fee Application of PricewaterhouseCoopers, LLP, Auditors and Tax
Consultants for Allowance of Compensation and Reimbursement of
Expenses for the Darex 2007 Puerto Rico Audit, filed July 20, 2009

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Eighty-first Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of June, 2009; filed August 7,

2009

Thirty-third Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period April 1,

2009 and June 30, 2009; filed August 13, 2009

Ejighty-second Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of July, 2009; filed September

2, 2009

Final Fee Application of PricewaterhouseCoopers, LLP, Auditors and Tax
Consultants for Allowance of Compensation and Reimbursement of
Expenses for the Darex 2008 Puerto Rico Audit; filed September 29, 2009

Eighty-third Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of August, 2009, filed October

19, 2009

Eighty-fourth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of September, 2009; filed

November 11, 2009

Thirty-fourth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period July 1, 2009

and September 30, 2009; filed November 16, 2009

Eighty-fifth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of October, 2009; filed

December 14, 2009

Eighty-sixth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of November, 2009; filed

January 8, 2010

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Eighty-seventh Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Month of
December, 2009, filed January 28, 2010

Thirty-fifth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of

Compensation and Reimbursement of Expenses for the period October 1,
2009 and December 31, 2009; filed February 16, 2010

Eighty-eighth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of January, 2010; filed March
19, 2010

Eighty-ninth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of February, 2010; filed April
21, 2010

Ninetieth Fee Application of PricewaterhouseCoopers, LLP, Auditors and
Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of March, 2010; filed May 17,
2010

Thirty-sixth Quarterly Fee Application of PricewaterhouseCoopers, LLP,
Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period January 1,
2010 and March 31, 2010; filed May 17, 2010

Ninety-first Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of April, 2010; filed June 17,
2010

Ninety-second Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of May, 2010; filed July 22,
2010

Application for Allowance of Compensation and Reimbursement of
Expenses for Control and Optimization Project March 2010; filed July 22,
2010

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Application for Allowance of Compensation and Reimbursement of
Expenses for Control and Optimization Project April - May 2010; filed
July 22, 2010

Thirty-seventh Quarterly Fee Application of PricewaterhouseCoopers,
LLP, Auditors and Tax Consultants For Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the period April 1,
2010 and June 30, 2010, filed August 17, 2010

Ninety-third Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of June, 2010; filed August 16,
2010

Ninety-fourth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of July, 2010; filed September
10, 2010

Ninety-fifth Fee Application of PricewaterhouseCoopers, LLP, Auditors
and Tax Consultants For Debtors, for Allowance of Compensation and
Reimbursement of Expenses for the Month of August, 2010; filed October
19, 2010

